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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 REJON TAYLOR, et al.,

                             Plaintiffs,

                     v.
                                                    Case No.
 DONALD J. TRUMP, et al., in their official
 capacities,

                             Defendants.


              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 65.1

       I, Maria V. Morris, declare as follows:

       1.      I am the lead counsel for Plaintiffs and Senior Staff Attorney at the American Civil

Liberties Union, with offices at 915 15th Street, N.W., Washington, D.C. 20005. I am making this

declaration in support of the Plaintiffs’ motion for a temporary restraining order (“TRO”) and to

comply with Local Rule 65.1. The statements in this declaration are based on my personal

knowledge, research conducted for this case, and my communications with the U.S. Department

of Justice and the U.S. Attorney’s Office for the District of Columbia.

       2.      Pursuant to Local Rule 65.1(a), on April 16, 2025, counsel for Plaintiffs called

(1) the phone number listed on the U.S. Department of Justice Federal Programs Branch’s website,

(202) 514-1259, and spoke with Alex Haas at 3:47 p.m., Director of the Federal Programs Branch,

and (2) the phone number listed on the U.S. Attorney’s Office for the District of Columbia Civil

Division’s website, (202) 252-2500, and left a message for Brian Hudak at 3:45 p.m., Chief of the

Civil Division, providing notice of Plaintiffs’ complaint and motion for an emergency temporary

restraining order to be filed in the U.S. District Court for the District of Columbia at approximately
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6.30 p.m. on April 16, 2025, and providing Plaintiffs counsel’s contact information. I also sent an

email to Mr. Hudak at brian.hudak@usdoj.gov with the same information at 3:54 p.m.

       3.      As soon as possible after filing the Complaint and TRO papers in this proceeding,

counsel for Plaintiffs will provide copies of the relevant papers by certified mail to Defendants,

as well as to the United States Attorney’s Office for the District of Columbia, and the Office of

the Attorney General.

       I declare under penalty of perjury that the foregoing is true and correct.



 Dated: April 16, 2025                               Respectfully submitted,
        Washington, DC
                                                     /s/ Maria V. Morris
                                                     Maria V. Morris, Bar. No. 1697904




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